            Case 3:17-cv-00512-JAM Document 37 Filed 12/10/18 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT


This Document relates to:

       CONSOLIDATED ACTION

ALBERT M. BELTRANO,                                  Consolidated Case No. 3:17-CV-00512-JAM
                     Plaintiff,

       v.

SIMM ASSOCIATES, INC.,

                     Defendant.


                      DEFENDANT SIMM ASSOCIATES, INC.’S
                   NOTICE OF MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56(a) of the Federal Rules of Civil Procedure, Defendant Simm

Association, Inc. (“SIMM”), by and through its undersigned counsel, respectfully moves this

Court for an Order granting summary judgment in its favor as to every count alleged against it

and dismissing Plaintiff Albert Beltrano’s (“Plaintiff”) claims. This Motion is based upon this

Notice of Motion, Defendant’s Local Rule 56(a)(1) Statement of Facts and the declaration of

Jeffrey Simendinger and the exhibits annexed thereto, Defendant’s Memorandum of Law in

Support of its Motion, and the Proposed Order.

                                     Respectfully submitted,

                                     Defendant,
                                     SIMM ASSOCIATES

                                     By:     /s/Graeme Hogan
                                             GRAEME HOGAN
                                             Fineman Krekstein & Harris, PC
                                             Ten Penn Center
                                             1801 Market Street, Suite 1100
                                             Philadelphia, PA 19103


                                                 1
        Case 3:17-cv-00512-JAM Document 37 Filed 12/10/18 Page 2 of 2




                                    ghogan@finemanlawfirm.com

                              By:   /s/ct28504
                                    TIMOTHY P. MOYLAN
                                    Diserio Martin O’Connor & Castiglioni LLP
                                    One Atlantic Street, 8th Floor
                                    Stamford, CT 06901
                                    tmoylan@dmoc.com

                                    Attorneys for Defendant


Dated: December 10, 2018




                                      2
